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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,                     Case No. 19-20772

             Plaintiff,                       Hon. TERRENCE G. BERG

v.

D-1 MATTHEW MERCER-KINSER,

             Defendant.


                  STIPULATION TO ADJOURN DATES
                 AND FINDING OF EXCLUDABLE DELAY

      The parties stipulate and agree that the motion and plea cutoff of March 13,

2020, the final pretrial conference of April 2, 2020 and the jury trial of April 14,

2020 be continued for approximately 60 days, to May 22, 2020, June 4, 2020 and

June 22, 2020, respectively. Defendant has requested this adjournment because

defendant and his counsel need adequate time to investigate the case, evaluate

whether to file any motions, continue plea negotiations with the government, and

prepare for trial if necessary. The United States has no objection.

      The parties stipulate and agree that based on these reasons, the ends of justice

served by a continuance outweigh the best interests of the public and defendant in a

speedy trial, and that the time period from March 10, 2020 to June 22, 2020 should
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be excluded from the computation of time under the Speedy Trial Act, pursuant to

18 U.S.C. §3161(h)(7).

SO STIPULATED AND AGREED,

FOR THE UNITED STATES:

s/ Erin S. Shaw
ERIN S. SHAW
Assistant U.S. Attorney
211 West Fort Street, Suite 2001
Detroit, Michigan 48226
(313) 226-9182

FOR THE DEFENDANT:

s/ Todd Shanker (with consent)
TODD SHANKER
Attorney for Defendant Matthew Mercer-Kinser
613 Abbott Street, 5th Floor
Detroit, Michigan 48226


Dated: March 11, 2020
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,                     Case No. 19-20772

              Plaintiff,                      Hon. TERRENCE G. BERG

v.

D-1 MATTHEW MERCER-KINSER,

              Defendant.


                                      ORDER

      Upon this Court’s consideration of the parties’ stipulation to adjourn the

motion and plea cutoff, the final pretrial conference, and the jury trial for

approximately 60 days, and of the reasons provided by the parties for the exclusion

of time under the Speedy Trial Act, and the Court being fully advised of its premises;

IT IS HEREBY ORDERED that the following dates are continued as follows:

      Motion and Plea Cutoff                  May 22, 2020

      Final Pre-trial Conference              June 4, 2020 at 11:00 a.m.

      Trial                                   June 22, 2020 at 9:00 a.m.

IT IS FURTHER ORDERED that the time period from the current trial date of

April 14, 2020 through the new trial date of June 22, 2020 shall be deemed

excludable delay under the provisions of the Speedy Trial Act, 18 U.S.C
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§3161(h)(7). This Court finds that because defendant and his counsel need adequate

time to investigate the case, evaluate whether to file any motions, continue plea

negotiations with the government, and prepare for trial if necessary, the ends of

justice served by this delay outweigh the best interests of the defendant and the

public in a speedy trial.



      IT IS SO ORDERED.

                                     /s/Terrence G. Berg______________
                                     Hon. Terrence G. Berg
                                     United States District Judge


Dated: March 12, 2020
